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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION


In re:                                             )       Case No. 3:16-bk-02230-PMG
                                                   )
RMS TITANIC, INC., et al., 1                       )       Chapter 11 (Jointly Administered)
                                                   )
                 Debtors.                          )
                                                   )

 RESPONSE OF UNITED STATES OF AMERICA TO MOTION OF EUCLID
CLAIMS RECOVERY LLC FOR APPOINTMENT OF CHAPTER 11 TRUSTEE

         The United States of America, Department of Commerce, National Oceanic and

Atmospheric Administration (“NOAA”), a party-in-interest herein, hereby responds to the

Motion of Euclid Claims Recovery LLC for Appointment of a Chapter 11 Trustee (the

“Motion”), Docket No. 1013, and states as follows:

1.       NOAA takes no position on the Motion’s request to appoint a trustee pursuant to

11 U.S.C. § 1104(a) but files this response to reserve its rights with respect to any motion

filed in this Court seeking authority to sell any of the artifacts recovered from the R.M.S.

Titanic (“Titanic”).

2.       The Motion claims that the primary grounds for the requested relief is the Debtors’

failure to effect a sale of the Titanic artifacts, Motion at 5-9, including sales of individual

artifacts from the French Collection, id. at ¶¶ 10 and 30. The Motion asserts that the

Debtors’ failure to pursue individual sales of the French artifacts is “confounding” and that




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  The Debtors in the chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number include: RMS Titanic, Inc. (“RMST”) (3162); Premier Exhibitions, Inc. (4922);
Premier Exhibitions Management, LLC (3101); Arts and Exhibitions International, LLC (3101); Premier
Exhibitions International, LLC (5075); Premier Exhibitions NYC, Inc. (9246); Premier Merchandising,
LLC (3867), and Dinosaurs Unearthed Corp. (7309). The Debtors’ service address is 3045 Kingston Court,
Suite I, Peachtree Corners, Georgia 30071.
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such sales “may represent the only means to achieve full payment to creditors. . . .” Id. at

¶ 30.

3.         The U.S. District Court for the Eastern District of Virginia granted RMST

an in specie salvage award of title to the American Collection of Titanic artifacts but

subjected that award to court-imposed covenants and conditions (“C&Cs”), jointly crafted

by RMST and NOAA. R.M.S. Titanic, Inc. v. Wrecked & Abandoned Vessel, 804 F. Supp.

2d 508, 509 (E.D. Va. 2011). Under the C&Cs, RMST has committed, among other things,

to conserving and curating, “to the maximum extent possible and consistent with

reasonable collection management practices,” the American Collection of Titanic artifacts

together with the French Collection of Titanic artifacts “as an integral whole.” C&Cs

III.A. 2

4.         In light of this provision in the C&Cs and the movant’s obvious preference for a

sale of the French artifacts if the Court appoints a trustee, NOAA expressly reserves its

right to object or otherwise respond to any motion filed in this Court seeking authority to

sell any of the artifacts recovered from the Titanic.

This 30th day of May 2018.


                                                               Respectfully submitted,

                                                               CHAD A. READLER
                                                               Acting Assistant Attorney General

                                                               MARIA CHAPA LOPEZ
                                                               United States Attorney

                                                               /s/ Matthew J. Troy
                                                               RUTH A. HARVEY
                                                               MICHAEL J. QUINN

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  In addition, the District Court has continuing jurisdiction over the American Collection, and no sale of
that collection can occur without its approval. C&Cs at V.F. and VI.A.

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                             CERTIFICATE OF SERVICE

        I hereby certify that on this 30th day of May 2018, I caused a true and correct copy
of foregoing Response to be filed with the Clerk of the Court using the CM/ECF system
which in turn will send electronic notification to all interested parties of record.


                                                     /s/ Matthew J. Troy
                                                     Matthew J. Troy
